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                            UNITED STATES BANKRUPTCY COURT

                              EASTERN DISTRICT OF LOUISIANA

   IN RE:                                               :       CASE NO. 18-13218
                                                        :
   BRIAN JOSEPH DOMINGUE                                :       SECTION “B”
                                                        :
          DEBTOR                                        :       CHAPTER 7


                  APPLICATION FOR EMPLOYMENT OF ATTORNEY

          The application of Barbara Rivera-Fulton, trustee of the captioned estate (“Applicant” or

   “Trustee”), respectfully represents:

          1.      The Debtor filed a voluntary petition for relief under Chapter 7 of the Bankruptcy

   Code on December 4, 2018.

          2.      Applicant is the duly appointed trustee of the bankruptcy estate of the above-named

   Debtor and is now acting as such trustee.

          3.      Applicant requires the assistance of counsel so as to enable him to perform properly

   his functions as Trustee. Specifically, the retention of attorneys is necessary in connection with

   the following matters:

          A. To assist the Trustee with (i) the review of liens and security interests on two pieces of
             immovable property (the Debtor’s residence and a rental property) belonging to the
             estate, (ii) preparing and filing the appropriate pleadings to obtain a real estate broker
             to market and list the property, (iii) preparing and filing the appropriate pleadings to
             obtain approval of any agreed upon sale, (iv) review of any closing documents in
             connection with any agreed upon sale, and (iii) all other legal matters relating to the
             closing of the sale and distribution of the proceeds to creditors

          B. To act as general counsel for Applicant and to assist Applicant in evaluating other
             bankruptcy issues affecting the estate;

          C. To investigate and prosecute any actions subject to avoidance and/or recovery under
             the Bankruptcy Code and/or state law;



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           D. To assist the Trustee in investigating and pursuing any other causes of action that the
              Debtor or estate may have;

           E. To advise and consult with Applicant concerning questions arising in the conduct of
              the administration of the estate and concerning Applicant's rights and remedies with
              regard to the estate's assets and the claims of secured, priority and unsecured creditors
              and other parties in interest, except as set forth in the attached declaration; and

           F. To assist in the preparation of such pleadings, motions, notices and orders as are
              required for the orderly administration of this estate.

           4.     The Trustee has conferred with, and now desires to employ, the firm of Chaffe

   McCall, LLP to handle all aspects of the foregoing legal issues.

           5.     The Trustee has selected the firm of Chaffe McCall, LLP because of the extensive

   experience and knowledge of the firm's partners and associates in the field of bankruptcy,

   insolvency, Debtors’ and creditors’ rights, and commercial litigation. Accordingly, the Trustee

   believes that these attorneys are well qualified to represent the Trustee in this Chapter 7 liquidation

   case.

           6.     To the best of the Trustee's knowledge, the law firm of Chaffe McCall, LLP

   represents no other entity in connection with this case, is disinterested as that term is defined in 11

   U.S.C. § 101(13), and represents or holds no interest adverse to the estate.

           7.     To the best of the Trustee's knowledge, information, and belief, the firm of Chaffe

   McCall, LLP has no connection with the Debtor, the creditors, or any party in interest, or their

   respective attorneys and accountants except as noted on the Declaration of Proposed Attorney

   attached hereto.

           8.     The firm has indicated its willingness to act on the Trustee's behalf and to be

   compensated in accordance with the terms and conditions set forth below:




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                A.   The professional services rendered will be subject to approval of the Court upon
                     submission of an appropriate fee application. The firm has agreed to bill the
                     following rates for the following experience levels within the firm:

                     David J. Messina              - $375.00
                     Fernand L. Laudumiey, IV      - $300.00

                     Other attorneys at Chaffe McCall, LLP may also assist in the representation of the
                     Trustee in this case, and such time will be billed at the standard rate of such
                     attorneys for their experience level, subject to ultimate approval by this Court.

                B.   Over and above whatever attorney's fees are granted in accordance with A above,
                     the firm will be reimbursed for actual out-of-pocket disbursements and expenses
                     incurred upon submission of a fee application properly documenting such
                     reasonable and necessary expenses.

           9.        Based upon the foregoing, the Trustee submits that the employment of Chaffe

   McCall, LLP as counsel for the Trustee under the terms and conditions set forth above would be

   in the best interests of the estate and creditors herein.

           WHEREFORE, your Applicant prays that his employment of Chaffe McCall, LLP to

   represent Applicant in this case on the terms set forth herein be approved pursuant to Bankruptcy

   Code §§ 327, and that he have such other and further relief as is just.


                                                        By: /s/ Barbara Rivera-Fulton
                                                              Barbara Rivera-Fulton
                                                              P.O. Box 19980
                                                              New Orleans, LA 70179
                                                              Telephone: (504) 373-5592




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                                        CERTIFICATE

          I certify that a copy of the foregoing Application for Employment of Attorney with

   Annexed Declaration of Proposed Attorney and Proposed Order was this day mailed, postage

   prepaid, to the following parties:

          Wilbur J. Babin, Jr.
          3027 Ridgelake Drive
          Metairie, LA 70002

          Office of the U.S. Trustee
          400 Poydras Street
          Suite 2110
          New Orleans, LA 70130

          Brain Joseph Domingue
          131 Rue Esplanade
          Slidell, LA 70461


          January 31, 2019

                                            By: /s/ Fernand L. Laudumiey, IV
                                               Fernand L. Laudumiey, IV




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                           DECLARATION OF PROPOSED ATTORNEY

           I, Fernand L. Laudumiey, IV, declare under penalty of perjury that the information

   provided below is true and correct to the best of my knowledge, information and belief:

           1.      I am an attorney at law admitted to practice before this Court and am a partner of
   the law firm of Chaffe McCall, LLP (“Chaffe” or “firm”) with offices in Baton Rouge at 103 Two
   United Plaza, 8550 United Plaza Blvd., Baton Rouge, Louisiana 70809, in New Orleans at 2300
   Energy Centre, 1100 Poydras Street, New Orleans, Louisiana 70163-2300, in Lake Charles at One
   Lakeshore Drive, Suite 1750, Lake Charles, Louisiana 70629, and in Houston, Texas at 801 Travis
   Street, Suite 1910, Houston, Texas 77002.

           2.      To the best of my knowledge, neither I, my firm, nor any partner or associate
   thereof, insofar as I have been able to ascertain, represents any interest adverse to that of the estate,
   the creditors, any other party-in-interest, their respective attorneys and accountants, the United
   States Trustee, or any person employed in the office of the United States Trustee in the matters
   upon which the law firm is to be engaged.

          3.      Neither I, my firm, nor any partner or associate thereof, insofar as I have been able
   to ascertain, has any connection with the creditors, any other party-in-interest, their respective
   attorneys and accountants, the United States Trustee, or any person employed in the office of the
   United States Trustee, except as follows:

           Chase Bank The law firm currently represents Chase Bank and its affiliates in
           matters unrelated to this bankruptcy case, and may represent Chase Bank, and its
           affiliates in future matters unrelated to this bankruptcy case. Our law firm has not
           represented Chase Bank and its affiliates in matters related to this bankruptcy case,
           nor will any partners or associates of the firm represent Chase Bank and its affiliates
           in matters related to this bankruptcy case or have any involvement in the
           determination of the allowability of any claim asserted by Chase Bank against the
           estate.

           Capital One The law firm currently represents Capital One and its affiliates in
           matters unrelated to this bankruptcy case, and may represent JP Morgan Capital
           One and its affiliates in future matters unrelated to this bankruptcy case. Our law
           firm has not represented Capital One and its affiliates in matters related to this
           bankruptcy case, nor will any partners or associates of the firm represent JP Capital
           One and its affiliates in matters related to this bankruptcy case or have any
           involvement in the determination of the allowability of any claim asserted by
           Capital One against the estate.

           Resource Bank The law firm has previously represented Resource Bank in matters
           unrelated to this bankruptcy case, and may represent Resource Bank in future
           matters unrelated to this bankruptcy case. Our law firm has not represented
           Resource Bank in matters related to this bankruptcy case, nor will any members or

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          associates of the firm represent Resource Bank. in matters related to this bankruptcy
          case.

          Dean Morris The law firm has previously represented Dean Morris in matters
          unrelated to this bankruptcy case, and may represent Dean Morris in future matters
          unrelated to this bankruptcy case. Our law firm has not represented Dean Morris in
          matters related to this bankruptcy case, nor will any members or associates of the
          firm represent Dean Morris. in matters related to this bankruptcy case.

           Based upon the review of the list of creditors by me and by other partners of the firm with
   extensive knowledge of the firm’s clients, we are not aware of any other representation by the firm
   of any persons with claims against or interests in the Debtor. However, Chaffe, its partners,
   counsel, and associates may have in the past represented, currently represent, and may in the future
   represent, in matters totally unrelated to the pending chapter 7 case, other entities which hold
   claims against the Debtor. Chaffe has a large and diversified legal practice that encompasses the
   representation of many individuals, financial institutions, and commercial corporations, some of
   which may be claimants in the Debtor’s chapter 7 case or otherwise have an interest in such case.
   As part of its practice, Chaffe appears in cases, proceedings, and transactions involving many
   different attorneys and accountants, some of whom may represent claimants and parties in interest
   in these cases. Chaffe does not represent any such entity in connection with the pending chapter
   7 case or have any relationship with any such entity, attorneys, or accountants that would be
   adverse to the estate.

           4.      Based on the foregoing, we believe the firm of Chaffe McCall, LLP is a
   “disinterested person” within the meaning of § 101 and § 327 of the Bankruptcy Code.

          5.       Neither I, my firm, nor any partner or associate thereof, insofar as I have been able
   to ascertain, is related to the Trustee by affinity or consanguinity within the third degree as
   determined by the common law, or is in a step or adoptive relationship within such degree.

          6.      Chaffe has not shared or agreed to share compensation received from the estate
   with any other entity other than with partners, counsel, and associates of Chaffe.

          January 31, 2019.

                                                 Respectfully submitted,

                                                 CHAFFE McCALL, LLP
                                                 2300 Energy Centre
                                                 1100 Poydras Street
                                                 New Orleans, Louisiana 70163-2300
                                                 Telephone: (504) 585-7000

                                                 By: /s/ Fernand L. Laudumiey, IV
                                                   David J. Messina, #18341
                                                   Fernand L. Laudumiey, IV, #24518
                                                     Attorneys for Barbara Rivera-Fulton, Trustee
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